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Brent V. Manning (Utah State Bar No. 2075)     Jim T. Banks (pro hac vice forthcoming)
Michael Harmond (Utah State Bar No. 17230)     Adam M. Kushner (pro hac vice forthcoming)
MANNING CURTIS BRADSHAW &                      HOGAN LOVELLS US LLP
BEDNAR PLLC                                    555 Thirteenth Street NW
215 South State Street, Suite 350              Washington, DC 20004
Salt Lake City, Utah 84111                     (202) 637-5600
(801) 363-5678                                 james.banks@hoganlovells.com
bmanning@mc2b.com                              adam.kushner@hoganlovells.com*
mharmond@mc2b.com

 Counsel for Proposed Intervenors Utah Diné Bikéyah, Friends of Cedar Mesa, the Society of
  Vertebrate Paleontology, Archaeology Southwest, Conservation Lands Foundation, Inc.,
 Patagonia Works, The Access Fund, and the National Trust for Historic Preservation in the
                                      United States

                      THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF UTAH

ZEBEDIAH             GEORGE             DALTON; MOTION TO INTERVENE UNDER
BLUERIBBON             COALITION;          KYLE RULE 24 AND MEMORANDUM OF
KIMMERLE; and SUZETTE RANEA MORRIS; LAW IN SUPPORT OF UTAH DINÉ
                                                   BIKÉYAH, FRIENDS OF CEDAR
                               Plaintiffs,         MESA, THE SOCIETY OF
v.                                                 VERTEBRATE PALEONTOLOGY,
                                                   ARCHAEOLOGY SOUTHWEST,
                                                   CONSERVATION LANDS
JOSEPH R. BIDEN, JR., in his official capacity
                                                   FOUNDATION, INC., PATAGONIA
as President of the United States; DEBRA A. WORKS, THE ACCESS FUND, AND
HAALAND, in her official capacity as Secretary THE NATIONAL TRUST FOR
of Interior; DEPARTMENT OF THE HISTORIC PRESERVATION IN THE
INTERIOR; TRACY STONE-MANNING, in UNITED STATES
her official capacity as Director of the Bureau of
Land Management; BUREAU OF LAND                       Civil Action No. 4:22-cv-0060-DN
MANAGEMENT; THOMAS J. VILSACK, in
his official capacity as Secretary of Agriculture;
                                                              Hon. David Nuffer
DEPARTMENT OF AGRICULTURE; RANDY
MOORE, in his official capacity as Chief of
the United States Forest Service; and UNITED
STATES FOREST SERVICE,

                            Defendants.


                         *Additional counsel listed on inside cover
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Additional counsel:
William E. Havemann (pro hac vice forthcoming)
Michael J. West (pro hac vice forthcoming)
Sarah Ruckriegle (pro hac vice forthcoming)
HOGAN LOVELLS US LLP
555 Thirteenth Street NW
Washington, DC 20004
(202) 637-5600
will.havemann@hoganlovells.com
michael.west@hoganlovells.com
sarah.ruckriegle@hoganlovells.com
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       Utah Diné Bikéyah, Friends of Cedar Mesa, the Society of Vertebrate Paleontology,

Archaeology Southwest, Conservation Lands Foundation, Inc., Patagonia Works, The Access

Fund, and the National Trust for Historic Preservation in the United States (collectively, “Proposed

Intervenors”) hereby move to intervene in the above-captioned action as Defendants under Federal

Rule of Civil Procedure 24.1 Undersigned counsel have conferred with counsel for the existing

parties. The Government reserves taking a position until this motion is filed. Plaintiffs take no

position on the motion to intervene, provided that the participation of intervenors does not delay

resolution of this case. If intervention is granted, Proposed Intervenors will coordinate with any

other intervenors to ensure streamlined proceedings and avoid duplicative filings.2

                                       INTRODUCTION

       In 2016, after years of advocacy by Proposed Intervenors and others, President Obama

exercised his authority under the Antiquities Act of 1906 to create Bears Ears National Monument

(“Bears Ears”). When President Trump later dismantled the monument, Proposed Intervenors and

others filed suit in federal court. Meanwhile, mining claims were staked; looters rummaged

through relics; vandals desecrated sacred sites; some members of Proposed Intervenors lost

research funding; and Proposed Intervenors were forced to divert their resources to provide a

baseline level of protection to the region. In October 2021, after more advocacy by Proposed

Intervenors and others, President Biden restored and expanded Bears Ears.




1
  The Society of Vertebrate Paleontology and Conservation Legal Foundation have joined in
another motion to intervene brought on behalf of a coalition of organizations with significant
interests in Grand Staircase. This motion concerns the substantial interests of these organizations
in the protection of Bears Ears.
2
  A proposed Answer is attached as Ex. E.
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       On August 24, 2022, Plaintiffs Garfield County, Utah; Kane County, Utah; and the State

of Utah filed suit, claiming that President Biden exceeded his authority under the Antiquities Act

in restoring Bears Ears and Grand Staircase-Escalante National Monument (“Grand Staircase”),

another national monument dismantled by President Trump.

       Proposed Intervenors move to intervene under Rule 24. They satisfy all the requirements

for intervention as of right. Their motion is timely. Their interests in this litigation are

indistinguishable from interests the Tenth Circuit found sufficient in an analogous case. These

interests will be adversely affected if this Court grants Plaintiffs’ requested relief. And given that

Proposed Intervenors and the Government have different views on the scope of Presidential

authority under the Antiquities Act, those interests are not adequately represented. Should this

Court disagree, it should nonetheless grant Proposed Intervenors permission to intervene.

                                          STATEMENT

A.     Background

       Bears Ears National Monument was first established in 2016, when President Obama

issued a Proclamation under the Antiquities Act (“the 2016 Proclamation”).3 The Antiquities Act

empowers the President to “declare” certain objects to be “national monuments” and to “reserve

parcels of [federal] land as part of the national monuments.”4 Parcels “shall be confined to the

smallest area compatible with the proper care and management of the objects to be protected.”5




3
  Establishment of the Bears Ears National Monument, 82 Fed. Reg. 1139, 1139 (Dec. 28, 2016).
4
  54 U.S.C. § 320301(a), (b).
5
  Id. § 320301(b).

                                                  2
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Bears Ears originally covered 1.35 million acres, and mining and mineral leasing were generally

prohibited in its bounds.6

       In 2017, President Trump eviscerated Bears Ears, replacing it with two disconnected

“units” (“2017 Proclamation”).7 These units comprised 201,876 acres, roughly 11,200 of which

were not originally included in Bears Ears. More than 1.15 million acres—or 85% of the original

monument—were removed (the “Revoked Area”).8 Lands in the Revoked Area were opened to

“mineral and geothermal leasing” and mining activities;9 archaeological and anthropological

objects were exposed to looting and vandalism.

       Proposed Intervenors challenged the 2017 Proclamation in federal court.10 The parties

eventually cross-moved for partial summary judgment on whether President Trump lacked

authority to revoke or reduce Bears Ears. Before the court ruled on those motions, President Biden

directed agencies to review any federal actions that threatened “national treasures and

monuments.”11 On the Government’s unopposed motion, the court stayed the proceedings. That

stay remains in place.

       On October 8, 2021, President Biden issued a Proclamation restoring Bears Ears (“2021

Proclamation”).12 This Proclamation declared that both the “landscape itself” and “innumerable




6
  82 Fed. Reg. at 1143.
7
  Modifying the Bears Ears National Monument, 82 Fed. Reg. 58081, 58085 (Dec. 4, 2017).
8
  Id.
9
  Id.
10
   See Utah Diné Bikéyah v. Trump, No. 17-cv-02605 (D.D.C.).
11
   Protecting Public Health and the Environment and Restoring Science to Tackle the Climate
Crisis, 86 Fed. Reg. 7037, 7037 (Jan. 20, 2021).
12
   Bears Ears National Monument, 86 Fed. Reg. 57321, 57322 (Oct. 8, 2021).

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objects” in the region were objects in need of protection under the Antiquities Act.13 It restored

the boundaries established in the 2016 Proclamation, and also included the 11,200 new acres

protected under the 2017 Proclamation; Bears Ears now covers 1.36 million acres.14 This is the

“smallest area compatible with the proper care and management of the objects” to be protected.15

Monument lands are again closed to new mining and oil leasing claims.16

        On August 24, 2022, Plaintiffs sued President Biden and others.17 Plaintiffs claim that

President Biden exceeded his authority under the Antiquities Act in restoring Bears Ears and Grand

Staircase. Plaintiffs seek a declaratory judgment that the 2021 Proclamation is unlawful and an

injunction restraining any President from implementing or enforcing the 2021 Proclamation.18

B.      Proposed Intervenors

        1. Utah Diné Bikéyah (“UDB”) is a nonprofit organization headquartered in Utah. It

preserves Native American traditions, with a focus on preserving the Bears Ears region for its

cultural, ancestral, and paleontological resources.19 It also focuses on preventing mining in the

region.20 This area is central to UDB members’ religious and cultural practices; members regularly

visit the area for religious activities.21




13
   Id. at 57322, 57331.
14
   Id. at 57331-32.
15
   Id. at 57330-31.
16
   Id. at 57331.
17
   See Compl., ECF No. 2.
18
   Id. at 52.
19
   Ex. A, Maryboy Decl. ¶ 11.
20
   Id.
21
   Id. ¶¶ 23-24.

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       2. Friends of Cedar Mesa (“FCM”) is a nonprofit organization headquartered in Utah. Its

mission is to ensure that the Bears Ears region is protected.22 FCM staff and board members use

the Bears Ears region for activities, including hiking and rock climbing.23

       3. The Society of Vertebrate Paleontology (“SVP”) is a nonprofit organization

headquartered in Maryland. SVP is the world’s largest paleontological organization. Part of its

mission is to support the conservation of fossil sites.24 Because the Bears Ears region is rich in

fossils, many SVP members conduct research in the region.25

       4. Archaeology Southwest is a nonprofit organization headquartered in Arizona. Its

mission is to pursue “preservation archaeology”—a conservation-based approach to

archaeology—in the southwestern United States, including in Bears Ears.26

       5. Conservation Lands Foundation, Inc. (“CLF”) is a nonprofit organization

headquartered in Colorado. Upon information and belief, CLF is the only nonprofit dedicated to

safeguarding National Conservation Lands—which now include Bears Ears—under the care of the

Bureau of Land Management.27




22
   Ex. B, Hadenfeldt Decl. ¶¶ 11-12.
23
   Id. ¶¶ 10, 21, 46, 67.
24
   Ex. C, Polly Decl. ¶ 9.
25
   Id.
26
   Decl. of William Doelle in Support of Archaeology Southwest’s Standing at 2, Hopi Tribe, No.
17-cv-02590 (D.D.C. Jan. 9, 2020) (“Hopi”), ECF No. 164-2 (“Doelle Decl.”).
27
   Decl. of Peter Metcalf in Support of Conservation Lands Foundation, Inc.’s Standing at 1, Hopi,
ECF No. 164-15 (“Metcalf Decl.”).

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       6. Patagonia Works is a California benefit corporation committed to conservation and

social equity. Patagonia’s employees have visited Bears Ears numerous times for various purposes

including, but not limited to, product testing and spiritual and aesthetic enjoyment.28

       7. The Access Fund is a nonprofit organization headquartered in Colorado dedicated to

conserving rock-climbing areas. Its members regularly climb in Bears Ears.29

       8. The National Trust for Historic Preservation in the United States is a private

charitable, educational, nonprofit corporation chartered by Congress in 1949 to protect historic

resources and to further the historic preservation policy of the United States.30

       Proposed Intervenors are devoted to conservation of the Bears Ears region. They devoted

significant resources to securing national monument status for Bears Ears during the Obama

Administration. They then filed suit against the Government to challenge the 2017 Proclamation.

And they again devoted significant resources to restoring national monument status for Bears Ears

during the Biden Administration.

                                          ARGUMENT

I.     PROPOSED INTERVENORS ARE ENTITLED TO INTERVENE AS OF RIGHT.

       Under Rule 24(a)(2), courts must grant intervention as of right if: (1) the motion is

“timely”; (2) the movant “claims an interest relating to . . . the subject of the action”; (3)



28
   Decl. of Hillary Dessouky in Support of Patagonia Works’s Standing at 13, Hopi, ECF No. 164-
14 (“Dessouky Decl.”).
29
   Decl. of Brad Barlage in Support of Access Fund’s Standing at 2, Hopi, ECF No. 164-5
(“Barlage Decl.”); Decl. of Erik Murdock in Support of Access Fund’s Standing at 3, Hopi, ECF
No. 164-6 (“Murdock Decl.”); Decl. of Eve Tallman in Support of Access Fund’s Standing at 2,
Hopi, ECF No. 164-7 (“Tallman Decl.”); Decl. of Michael Kennedy in Support of Access Fund’s
Standing at 3, Hopi, ECF No. 164-8 (“Kennedy Decl.”).
30
   54 U.S.C. § 312102; Ex. D, Merritt Decl. ¶¶ 4-5.

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“dispos[ing] of the action may as a practical matter impair or impede the [movant’s] ability to

protect [its] interest”; and (4) that interest is not “adequately represented” by existing parties.31

Courts in this circuit “follow a somewhat liberal line in allowing intervention,”32 and these

requirements “may be relaxed in cases raising significant public interests.”33 These factors

squarely weigh in favor of intervention as of right.

       1. Timeliness. This motion is timely. Proposed Intervenors move to intervene roughly three

months after the complaint was filed. This case is in its infancy; the Government has yet to file its

answer. Intervention will accordingly not prejudice existing parties.34 But, as explained below,

denying intervention will prejudice Proposed Intervenors by preventing them from adequately

defending their interests. So far as Proposed Intervenors are aware, no court in the Tenth Circuit

has ever denied intervention as untimely if it was filed less than eleven months after the

complaint.35

       2. Interests. Proposed Intervenors have “direct, substantial, and legally protectable”

interests in the subject of the litigation.36 In Clinton, the Tenth Circuit held that conservation

groups had sufficient interests to intervene in a case challenging the creation of Grand Staircase.37

These interests included: “their goal of vindicating their conservationist vision through [the



31
   Coalition of Ariz./N.M. Cntys. for Stable Econ. Growth v. Dep’t of Interior, 100 F.3d 837, 840
(10th Cir. 1996).
32
   WildEarth Guardians v. Nat’l Park Serv., 604 F.3d 1192, 1198 (10th Cir. 2010) (quotation marks
omitted).
33
   Kane Cnty. v. United States, 928 F.3d 877, 890 (10th Cir. 2019) (quotation marks omitted).
34
   See Utah Ass’n of Cntys. v. Clinton, 255 F.3d 1246, 1251 (10th Cir. 2001).
35
   See In re SEC, 296 F. App’x 637, 639 (10th Cir. 2008).
36
   Coalition, 100 F.3d at 839, 840 (citation omitted).
37
   Clinton, 255 F.3d at 1251-53.

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monument’s] preservation”; their members’ interests in “visiting the monument for aesthetic,

scientific, and recreational purposes”; “their financial stake in the tourism the monument has

created”; and “their support of its creation.”38 Proposed Intervenors have these same interests.

          UDB’s mission is to “conserv[e] and preserv[e] the Bears Ears region.”39 FCM “works to

protect . . . the cultural and natural landscapes of the . . . Bears Ears region”.40 “SVP and its

members” work “to protect paleontological resources within” Bears Ears.41 The National Trust has

worked to protect “the [area’s] cultural resources.”42 Archaeology Southwest, “significant cultural

sites.”43 CLF, Patagonia Works, and the Access Fund likewise work to protect and preserve Bears

Ears.44

          Proposed Intervenors’ members also regularly visit the area. UDB member Mark Maryboy

“regularly visit[s] . . . areas [within Bears Ears] . . . to perform traditional Navajo ceremonies.”45

FCM member Vaughn Hadenfeldt typically spends “over 100 days per year[ ] hiking in the Bears

Ears region.”46 Members of other Proposed Intervenors similarly visit and enjoy Bears Ears.47




38
   Id. at 1251-52; see also WildEarth, 604 F.3d at 1198 (“it [is] ‘indisputable’ that a prospective
intervenor’s environmental concern is a legally protectable interest”).
39
   Ex. A., Maryboy Decl. ¶ 11.
40
   Ex. B, Hadenfeldt Decl. ¶¶ 11, 12.
41
   Ex. C, Polly Decl. ¶ 37.
42
   Ex. D, Merritt Decl. ¶ 6.
43 Doelle Decl, ¶ 11.
44
   Metcalf Decl. ¶¶ 4, 7; Dessouky Decl. ¶¶ 7-9; Barlage Decl. ¶ 4.
45
   Ex. A., Maryboy Decl. ¶ 23.
46
   Ex. B, Hadenfeldt Decl. ¶ 10.
47
   Doelle Decl. ¶ 15; Dessouky Decl. ¶ 31; Barlage Decl. ¶ 7

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        SVP has a financial stake in Bears Ears: A “critical” source of funding for its members’

research is tied to the region’s monument status.48

        And Proposed Intervenors advocated for Bears Ears’ creation and then championed its

restoration. Supra p. 3. Indeed, Proposed Intervenors have already filed suit to protect Bears Ears

in pending litigation, underscoring their strong interest in defending its restoration.

        3. Impairment. This requirement asks whether “the disposition of th[e] action,” based on

the requested relief, “may as a practical matter impair or impede” would-be intervenors’ “ability

to protect their interest.”49 This is a “minimal burden.”50 The Complaint requests a declaratory

judgment that the proclamation restoring Bears Ears is unlawful and related injunctive relief.51 A

decision in Plaintiffs’ favor could set aside part or all of the 2021 Proclamation, and may prohibit

federal officials from enforcing it. Either result would significantly impair Proposed Intervenors’

interests.

        First, if Plaintiffs win, most or all of the areas in which Proposed Intervenors have an

interest would lose their “monument designation” and suffer environmental degradation—a

sufficient impairment of their interests under Clinton.52 Under the 2017 Proclamation, at least four

mining claims were located in lands now protected under the 2021 Proclamation.53 If Plaintiffs

succeed, those lands would be open to similar claims. Mining activities would severely impact


48
   Ex. C, Polly Decl. ¶¶ 52-53.
49
   Clinton, 255 F.3d at 1253.
50
   WildEarth, 604 F.3d at 1199.
51
   Compl. at 52.
52
   255 F.3d at 1253-54; see also, e.g., Kane Cnty., 928 F.3d at 892 (suit to widen roads would
impair environmental organization’s “interest in preservation and enjoyment of the surrounding
land”).
53
   See Ex. B, Hadenfeldt Decl. ¶ 54.

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Proposed Intervenors’ use and enjoyment of the areas.54 Lands stripped of monument status would

also be exposed to looting and vandalism—conduct that was common under the 2017

Proclamation.55

       Second, a decision in Plaintiffs’ favor would threaten Proposed Intervenors’ scientific

research in Bears Ears. Much of SVP members’ research in the area, for example, is tied to its

monument status.56 Rescinding that status would lead to decreased funding for that research.57 It

would also threaten the objects of that research, because scientifically crucial fossils would be

unprotected from casual collection by visitors.58

       Third, revoking the 2021 Proclamation would harm Proposed Intervenors’ organizational

interests. After the 2017 Proclamation, Proposed Intervenors were forced to redirect funding from

other projects to protect the Revoked Area.59 Rescinding the 2021 Proclamation would again force

Proposed Intervenors to expend resources for baseline conservation efforts.

       4. Adequacy. A proposed intervenor must establish that representation of its interests by

existing parties “may be” inadequate.60 “[T]he possibility of divergence of interest need not be

great.”61 This showing “is easily made when the party upon which the intervenor must rely is the




54
   See Ex. A, Maryboy Decl. ¶ 52; Ex. B, Hadenfeldt Decl. ¶ 65.
55
   See Ex. B. Hadenfeldt Decl. ¶¶ 25, 33-36.
56
   Ex. C, Polly Decl. ¶¶ 52-53.
57
   Id.
58
   Id. ¶ 48.
59
   See Ex. A, Maryboy Decl. ¶¶ 30-34; Ex. B, Hadenfeldt Dec. ¶¶ 29-31; Doelle Decl. ¶¶ 31-32;
Metcalf Decl. ¶ 17; Dessouky Decl. ¶ 39; Murdock Decl. ¶¶ 10-18.
60
   Trbovich v. United Mine Workers of Am., 404 U.S. 528, 538 n.10 (1972).
61
   Kane Cnty., 928 F.3d at 894 (citation and quotation marks omitted).

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government, . . . who may not view [the public] interest as coextensive with the intervenor’s

particular interest.”62

        Proposed Intervenors’ interests are not adequately represented by the Government. The

Government and Proposed Intervenors would likely endorse different limits on the President’s

authority under the Antiquities Act. Indeed, they are opposing parties in pending litigation over

whether the President has the authority to revoke monuments. Moreover, the Government has to

balance numerous priorities when defending the Proclamation, of which conservation is just one.

But that is the priority for Proposed Intervenors. Because it is impossible for the Government to

“carry out the task of protecting the public’s interest” while defending Proposed Intervenors’

private interests, Proposed Intervenors’ interests are inadequately represented.63 To the extent the

interests of the Government and Proposed Intervenors align temporarily, the Government’s policy

priorities can and often do change, as the history of these monuments underscores.64

II.     ALTERNATIVELY, PERMISSIVE INTERVENTION IS WARRANTED.

        In the alternative, this Court should grant Proposed Intervenors permission to intervene

under Rule 24(b). Rule 24(b) allows courts to “permit anyone to intervene who . . . has a claim or

defense that shares with the main action a common question of law or fact” as long as intervention




62
   Clinton, 255 F.3d at 1254.
63
   WildEarth Guardians, 604 F.3d at 1200; see also Clinton, 255 F.3d at 1256 (“[T]he government
is obligated to consider a broad spectrum of views, many of which may conflict with the particular
interest of the would-be intervenor.”); Kane Cnty., 928 F.3d at 893 (same).
64
   Because Proposed Intervenors and the Government are seeking “the same relief”—dismissal or
denial of Plaintiffs’ claims—Proposed Intervenors need not establish their own independent
Article III standing. See Kane Cnty., 928 F.3d at 886-887. In any event, all of the reasons
supporting intervention as of right establish standing. See id. at 888.

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will not “unduly delay or prejudice the adjudication of the original parties’ rights.”65 Proposed

Intervenors satisfy these criteria.

          This motion is timely; intervention will not cause undue delay or prejudice. Supra at 7.

          Proposed Intervenors’ defense of the 2021 Proclamation will share with the underlying

action a common question of law: the scope of Presidential authority under the Antiquities Act.

Indeed, their defense of the 2021 Proclamation—that the President has the authority to issue such

a proclamation—is directly responsive to Plaintiffs’ claims.

          Proposed Intervenors’ participation will also “significantly contribute to the full

development of the underlying factual issues . . . and to the just and equitable adjudication of the

legal questions presented.”66 Proposed Intervenors have special factual expertise given their

understanding of the land and its resources. And given their involvement in the 2017 Proclamation

litigation, Proposed Intervenors’ participation will allow for the full ventilation of the legal issues

involved in this lawsuit.




65
     Fed. R. Civ. P. 24(b)(1)(B), (3).
66
     State of Utah v. Kennecott Corp., 801 F. Supp. 553, 572 (D. Utah 1992).

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                                       CONCLUSION

      Proposed Intervenors respectfully request that the Court grant this motion to intervene.



 November 23, 2022                           Respectfully submitted,

                                             /s/ Brent V. Manning
                                             Brent V. Manning (Utah State Bar No. 2075)
                                             Michael Harmond (Utah State Bar No. 17230)
                                             MANNING CURTIS BRADSHAW & BEDNAR
                                             PLLC
                                             215 South State Street, Suite 350
                                             Salt Lake City, Utah 84111
                                             (801) 363-5678
                                             bmanning@mc2b.com
                                             mharmond@mc2b.com

                                             Jim T. Banks (pro hac vice forthcoming)
                                             Adam M. Kushner (pro hac vice forthcoming)
                                             William E. Havemann (pro hac vice forthcoming)
                                             Michael J. West (pro hac vice forthcoming)
                                             Sarah Ruckriegle (pro hac vice forthcoming)
                                             HOGAN LOVELLS US LLP
                                             555 Thirteenth Street NW
                                             Washington, DC 20004
                                             (202) 637-5600
                                             james.banks@hoganlovells.com
                                             adam.kushner@hoganlovells.com
                                             will.havemann@hoganlovells.com
                                             michael.west@hoganlovells.com
                                             sarah.ruckriegle@hoganlovells.com

                                             Counsel for Proposed Intervenors Utah Diné
                                             Bikéyah, Friends of Cedar Mesa, the Society of
                                             Vertebrate Paleontology, Archaeology Southwest,
                                             Conservation Lands Foundation, Inc., Patagonia
                                             Works, The Access Fund, and the National Trust
                                             for Historic Preservation in the United States



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                             WORD COUNT CERTIFICATION

       Pursuant to D. Utah R. 7-1(a)(4), the undersigned hereby certifies that this Motion to

Intervene under Rule 24 and Memorandum of Law in Support of Utah Diné Bikéyah, Friends of

Cedar Mesa, The Society of Vertebrate Paleontology, Archaeology Southwest, Conservation

Lands Foundation, Inc., Patagonia Works, The Access Fund, and The National Trust for Historic

Preservation in the United States, complies with the word count limitation in that exclusive of the

exempted portions, the motion contains 3,090 words.

                                                  /s/ Brent V. Manning
                                                  Brent V. Manning
